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                    IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MAINE



 Sierra Club, Natural Resources Council
 of Maine, and Appalachian Mountain
 Club,

                       Plaintiffs,

        v.

 U.S. Army Corps of Engineers; U.S.                 Case No. 2:20-cv-00396-LEW
 Department of Energy, and Col. John A.
 Atilano II, in his official capacity as
 District Commander and District Engineer,          JOINT STATUS REPORT

                       Federal Defendants,
        and

 Central Maine Power Company and
 NECEC Transmission, LLC,

                       Intervenor Defendants.



       Following the Court’s direction during the January 6, 2022 status conference, Plaintiffs

Sierra Club, Natural Resources Council of Maine, and the Appalachian Mountain Club, Federal

Defendants United States Army Corps of Engineers (“Corps”), Colonel John A. Atilano II, and

the United States Department of Energy (“DOE”), and Intervenor Defendants Central Maine

Power Company and NECEC Transmission LLC (hereinafter collectively “the Parties”) have

conferred and hereby submit this Joint Status Report for the Court’s consideration.

                         Status of Administrative Record Conferrals

       The Parties have been conferring over approximately the past year regarding Federal

Defendants’ administrative records, and these conferrals have continued since the Court’s last


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hearing in this case on January 6, 2022. While Plaintiffs and Federal Defendants have been able

to resolve some disputes regarding the Corps’ and DOE’s administrative records, there are several

issues that remain unresolved, including:

        1.      Whether documents that Federal Defendants claim are “deliberative” are part of the
                administrative record and/or whether these documents need to be identified on a
                privilege log.
        2.      Whether certain documents that Federal Defendants are claiming are “deliberative”
                are, in fact, “deliberative.”
        3.      Whether the Corps’ and DOE’s administrative records must include documents
                from the Maine Department of Environmental Protection’s (DEP) proceedings on
                CMP’s state permit applications.
        4.      Whether the Court should order that the Corps’ and DOE’s records be
                supplemented with certain documents and/or consider the documents as extra-
                record evidence.

This is not an exhaustive list of unresolved issues, and Plaintiffs reserve the right to raise additional

issues related to Federal Defendants’ administrative records in their motion, while Federal

Defendants reserve the right to raise any relevant defenses to such challenges.

        Given the nature of these disputes, Plaintiffs and Federal Defendants agree that motions

practice will be necessary on the Federal Defendants’ administrative records. Intervenor

Defendants do not have any outstanding disputes with Federal Defendants regarding the

administrative records, and do not anticipate filing any record-related motions.

                                 Status of State Court Proceedings

        The appeal in NECEC Transmission LLC et al. v. Bureau of Parks and Lands et al., No.

BCD-CIV-2021-00058 (the challenge to the initiative) is currently being briefed. Appellants filed

their briefs on February 16, 2022. Briefs of appellees and amicus curiae are due March 30,

2022. Appellants’ reply briefs and responses to amici are due April 20, 2022. Oral argument will

be held on either May 9 or 10, 2022. The time and date will be finalized about a month before the

argument.




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         Briefing in Black v. Cutko, No. BCD-cv-2020-29 (the challenge to the Maine Bureau of

Parks and Land (“BPL”) lease) is completed. Oral argument will be held the same day as oral

argument in NECEC LLC v. BPL.

                                        Scheduling Proposal

         Plaintiffs maintain their position that, given that this case might be significantly affected

by the outcome of the state court proceedings and to conserve the Parties’ and the Court’s

resources, the Court should stay or otherwise not enter any briefing schedules in this case until

those proceedings are resolved. Federal Defendants continue to take no position on the issue of

whether a stay is appropriate. Intervenor Defendants maintain their position that, given the

substantial length of time that it has taken to prepare the administrative records in this case and the

need to resolve this case within a reasonable timeframe in the event that the ongoing state court

appeals are resolved in their favor, the Court should (1) set a schedule for motions practice on the

contents of the agency record, but (2) not set any schedule for briefing on the merits until after the

state court appeals have been resolved.

         If the Court is inclined to move ahead with resolving the administrative record disputes

while the state court proceedings are pending, the Parties have conferred and agreed on the below

schedule and extended page limits for the briefs:

 Event                                              Date                         Page Limits

 Deadline for the Department of Energy to           March 31, 2022
 provide an updated certified record to the
 Plaintiffs and Intervenor-Defendants.
 Deadline for Plaintiffs to file a motion           April 8, 2022                15 pages
 challenging the contents of the Corps’ and/or
 DOE’s respective administrative records
 and/or seeking to admit extra-record
 evidence.




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 Deadline for Federal Defendants and               30 days after the filing    15 pages
 Intervenor Defendants to respond to any           of Plaintiffs’ motion
 motion challenging the contents of the Corps’
 and/or DOE’s respective administrative
 records and/or seeking to admit extra-record
 evidence.
 Deadline for Plaintiffs to reply.                 18 days after the filing    11 pages, or 15
                                                   of Federal Defendants’      pages for a
                                                   response                    combined reply
                                                                               brief if both
                                                                               Federal
                                                                               Defendants and
                                                                               Intervenor
                                                                               Defendants file
                                                                               response briefs
 Deadline for Parties to file Joint Status Report 14 days after the final      n/a
 and/or Schedule addressing future course of      decision on Plaintiffs’
 case.                                            motion

       Further, the Parties agree that they will notify the Court if a decision on the merits is made

in either of the state court proceedings while any administrative record motions are pending before

this Court.


Respectfully submitted this 4th day of March, 2022.

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on this 4th day of March, 2022, a copy of the foregoing Joint Status

Report was electronically filed with the Clerk of the Court using the CM/ECF system, which will

send notification of such filing to all counsel of record.


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